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          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK
          -------------------------------------------------------X
          MICHAEL BROOKS and
          TRACY PATTERSON,

                                    Plaintiffs                       16 CV 2649 (SJ) (RER)

                  -versus-                                           ORDER ADOPTING
                                                                     REPORT AND
                                                                     RECOMMENDATION
          HELP USA et al.,

                                     Defendants.
          -------------------------------------------------------X
          APPEARANCES

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                  Sarah Katherine Hook
          Attorneys for Defendants

          JOHNSON, Senior District Judge:

                  Presently before the Court is a Report and Recommendation (the “Report”)

          prepared by Magistrate Judge Ramon E. Reyes. Judge Reyes issued the Report on

          June 13, 2018, and provided the parties with the requisite amount of time to file

          objections. None of the parties filed any objections to the Report. For the reasons

          stated herein, this Court affirms and adopts the Report in its entirety.
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                 A district court judge may designate a magistrate judge to hear and

          determine certain motions pending before the Court and to submit to the Court

          proposed findings of fact and a recommendation as to the disposition of the motion.

          See 28 U.S.C. § 636(b)(1). Within 10 days of service of the recommendation, any

          party may file written objections to the magistrate’s report. See id. Upon de novo

          review of those portions of the record to which objections were made, the district

          court judge may affirm or reject the recommendations. See id. The Court is not

          required to review, under a de novo or any other standard, the factual or legal

          conclusions of the magistrate judge as to those portions of the report and

          recommendation to which no objections are addressed. See Thomas v. Arn, 474

          U.S. 140, 150 (1985). In addition, failure to file timely objections may waive the

          right to appeal this Court’s order. See 28 U.S.C. § 636(b)(1); Small v. Sec’y of

          Health & Human Servs., 892 F.2d 15, 16 (2d Cir. 1989).




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                 In this case, objections to Magistrate Judge Reyes’s recommendation were

          due by June 27, 2018. No objections to the Report were filed with this Court. Upon

          review of the recommendation, this Court adopts and affirms Magistrate Judge

          Reyes’s Report in its entirety. Brooks’s motion for partial entry of final judgment

          under Federal Rule of Civil Procedure 54(b) is GRANTED.



          SO ORDERED.



          Dated: July 9, 2018                           _______________/s/______________
                 Brooklyn, NY                             Sterling Johnson, Jr., U.S.D.J.




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